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Testing data as of: 8/31/2020 Midnight
Testing data last updated on: 9/1/2020

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Fatalities (Updated daily before 2 PM)

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Fatalities The increase in fatalities reflects new data reported Wednesday, May 6 in addition to confirmed (ataliies w thin nursing homes and Fatalities by Race/Ethnicity Data is preliminary. With 99% reporting, below is the
breakdown for NYS excluding NYC. With 63% reporting, below is the breakdown for NYC as provided by NYC age-adjusted rate

b Cc adult care faciities that w ere dentiied as part of a data reconciliation process earlier ths woek Click here for additional detail
y County NYCDOHMH.

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een Fatalities by Age Group

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Fatalities by Sex
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Top 10 Comorbidities by Age Group (22,814 out of 25,334 (90.1%) total fatalities have at least one comorbidity)

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